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The Plaintiff, Sylwia Ewelina Made} Manchanda (“the
Plaintiff”), submits this written response to the Court’s
April 23, 2020, Order, ordering the Plaintiff to show cause
why her Complaint should not be dismissed for failure to
assert a claim for which relief can be granted (and for
lack of subject matter jurisdiction.

Ls 42 U.S.C. §1983

“The claim is not one of the matters that may be
asserted against federal actors Pursuant to the limitations
imposed on Bivens actions by Ziglar v. Abassi, 137 S.Ct.
1843 (2017) .”

It is respectfully submitted that this action does not
seek an extension of the Bivens doctrine; and/or there are
no special factors emphasizing dismissal.

In Ziglar v. Abassi, 137 S.Ct. 1843, 198 L.Ed.2d 290
(2017), the plaintiffs sued the Immigration and
Naturalization Service, claiming that it unlawfully held
them for several months after completion of immigration
cases brought against them allowed the FBI to investigate
potential links to terrorism.

The United States Supreme Court found the implied
cause of action created by

Bivens v. Six Unknown Named Agents (1971) should not
be extended to reach the federal officials’ detention
policy. If a claim arises in a new context to Bivens,

then some special factor must be identified that makes

the judiciary better suited than the legislature to

decide that there is a new cause of action.
In Bivens, a man handcuffed in his home without a warrant
had a right under the Fourth Amendment and damages could
lie against the officials for constitutional violations,
absent statute, because such remedy could be judicially
implied under the Constitution. Bivens, 403 U.S. at 399
(Harlan, J., concurring).

The Supreme Court recognized two additional contexts
for such remedy—one in a sex discrimination case by a
federal employee under the Fifth Amendment due process
(Davis v. Passman, 442 U.S. 228, 99 S.Ct. 2264, 60 L.Ed.2d
846 (1979)), and one where prison officials’ failure to
treat an inmate’s asthma led to his death. See, Carlson v.
Green, 446 U.S. 14, 100 S.Ct. 1468, 64 L.Ed.2d 15 (1980).

If a case, however, does not present a new Bivens
context, such relief is not precluded and the Court may
evaluate the claim for damages on the merits. If the Court
determines that the context is new, it must analyze whether
there are special factors counseling hesitation in the
absence of action by Congress. Id. at 1857. Bueno Diaz v.

Mercurio, 2020 WL 1082482 (S.D.N.Y¥.) (March 5, 2020), noted

that the Supreme Court has dubbed it “crystal clear” that

 
“Congress views FTCA and Bivens as parallel, complimentary
causes of action.” Id. at 6. As such, the FTCA and Bivens
remedies are parallel, complimentary causes of action and
the availability of one does not preempt the latter.

Wilkie v. Robbins, 551 U.S. 537, 953, 127 S.Ct. 2588, 168
L.Ed.2d 389 (2007).

In Lanuza v. Love, 899 F.3d 1019 (9 Cir. 2018), an
alien brought an action against a government immigration
attorney and the United States, alleging that the
attorney’s falsification of a document violated the alien’s
Fifth Amendment right to due process. The attorney moved
to dismiss. The Third Circuit held that special factors
did not counsel against extending a Bivens remedy to the
alient’s due process claim against the government
immigration attorney.

Here, there are no “special factors” that counsel
against recognizing a Bivens remedy in this context. There
are no other remedies for the alleged violations in this
case other than damages. The more appropriate forum for a
determination of damages for an implied cause of action
under the Constitution is the Court. The judiciary is
well-suited to consider and weigh the costs and benefits of

allowing a damages action to proceed. Abbasi, 137 8.Ct. at

——_______1857.__In_Diaz=-Bernal_v._Myers,;—758-F.Supp. 2d 106 (D.Conn.
2010), the court held that the Immigration and Nationality
Act did not preclude a Bivens suit against supervisory
officials. And see, Maria S. v. Garza, 2015 WL 4394745
(S.D. Tex.).

Furthermore, if there are defects determined in the
Complaint, the matter should be only dismissed without
prejudice to the right to refile. Biandino v. Immigration
and Customs Enforcement Officers, 2011 WL 588342 (N.D.
Cal.).

2s 42 U.S.C. 2000ee-1 (e)

“This statutory provision does not set forth a
Private right of action. The Complaint does not allege
that Plaintiff filed a complaint with the requisite civil
rights or privacy officer designated by the agency pursuant
to 42 U.S.C. 2000ee-1(a) or (b) or to the Privacy and Civil
Liberties Oversight Board. The Complaint does not
plausibly allege that Stokes notice was issued in response
to the written complaint made by the Plaintiff’s husband or
that the Defendant knew of the complaint before the notice
was issued.”

The statutory provisions under 42 U.S.C. 2000ee-1 (a)
do create a private cause of action. Specifically, as
recognized by the DHS, retaliation against a person who

makes a complaint or discloses information to CRCL is

 
prohibited under 42 U.S.C. 2000ee-1(1). The Second Circuit
has, for example, determined that a plaintiff can bring an
action under 1983 for retaliation based on complaints of
discrimination. Vega v. Hempstead Union Free Sch. Dist.,
801 F.2d (2d Cir. 2015).

As the United States Department of Homeland Security
wrote in a February 29, 2020 letter to the undersigned
attorney, “Federal law forbids retaliation against a person
who makes a complaint or discloses information to CRCL. 42
U.S.C.2000ee-1(e)” (Exhibit A, p. 2).

On March 26, 2020, the undersigned counsel, on behalf
of the Plaintiff, asked that USCIS immediately
reconsider/revoke the Stokes Interview Referral Notice;
grant the Plaintiff’s Adjustment of Status; and any other
remedies (Exhibit B). The letter further requested that a
decision was needed urgently, and certainly well before the
Stokes Interview date of May 12, 2020.

The Stokes Notice was evidently mailed on February 18,
2020, four (4) days after the Plaintiff and her family
submitted their original complaint, but was post-dated
February 14, 2020, Valentine’s Day. The Notice was mailed
to the Plaintiff’s former address, despite her having
changed her address online several months prior and gave

that address to the Defendant at interview. The appeal
requested that “all of this needs to be investigated as
another possible violation of federal law 42 U «Sin GS
2000eee-1(e) (Exhibit C, p. 1).

The appeal further raised awareness of possible
earlier retaliation prohibited by 2000ee-1(e) (Id. at Ds 2).
The undersigned was told by USCIS that the normal results
of complaining about a DHS or USCIS employee was “death”
and “direct energy weapons,” and other disturbing things
(Id.). As a result, the undersigned requested that the
USCIS immediately revoke the Stokes Interview Notice.

The Plaintiff was given Notice of a Stokes Interview
on February 14, 2020, to occur on May 12, 2020, at 8:00 am
(Exhibit D).

Si Federal Tort Claims Act

“Actions under the FTCA may only be brought against
the Untied States, not named as a Defendant. Myers &
Myers, Inc. v. U.S. Postal Service, 527 Fi2d 1215, 1256 (2d
Cir. 1975). The Plaintiff has not complied with the
jurisdictional precondition of filing a proper
administrative complaint providing the relevant agency with
the six-month period to act on the abuse. 28 U.S.C:

2675 (a); McNeil v. United States, 508 U.S. 106 (1993).”

As set forth in more detail below, the Plaintiff

sought to sue the individual Defendant because the federal
agency involved has indicated in writing that it will take
actions to discipline the Defendant. Therefore, the
undersigned did not bring suit against the federal agency.

To the extent that the Complaint has failed to name
the United States as a Defendant, it is respectfully
submitted that leave should be granted to amend the
Complaint, or the Complaint dismissed without prejudice to
the Plaintiff’s right to amend. However, the Plaintiff
intentionally did not name the United States Citizen and
Immigration Service because it responded positively to the
Plaintiff’s written complaints and informed that it would
be taking action against the Defendant. Nevertheless, the
undersigned submitted a formal complaint on behalf of the
Plaintiff seeking investigation into the Defendant “and the
rest of the New York DHS Field Office” (Exhibit E. P. 1)

The Plaintiff also did serve a Federal Tort Claim
Notice dated March 6, 2020 (Exhibit F). To the extent that
it is determined that providing Notice of the Claim as was
or when it was done here was defective, the Plaintiff seeks
leave to submit the Tort Claim Notice and/or Dismissal of
the Complaint Without Prejudice of the right to reinstate.
The Notice was rejected by the USCIS because the

undersigned could not learn the correct name of the

Defendant.
But the Plaintiff also exhausted her administrative
remedies against the United States by Submitting an I-290B
appeal (Exhibit G).

Significantly, on February 21, 2020, the DHS wrote to
the undersigned acknowledging receipt of the Plaintiff’s
Complaint, and that it would review the information
concerning civil rights abuses by employees and officials
(Exhibit H).

As a result, this action is procedurally proper.

Conclusion

For the reasons set forth above, and to be described
by Counsel on May 14, 2020, the Court’s Order to Show Cause
should be deemed satisfied, and the Plaintiff's Complaint
be deemed complete and proper. In the event that any
irregularities are deemed to exist, it is respectfully
submitted that the Plaintiff should be granted leave to

amend it.

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Dated: May 5, 2020

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